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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

CONNECTUS LLC d/b/a EDEGREE ADVISOR

                      Plaintiff,                            Case No.: 8:15-cv-02778-VMC-JSS


vs.

AMPUSH MEDIA, INC., and DGS EDU, LLC

                      Defendants.

____________________________________________/

                                   AMENDED COMPLAINT

       Plaintiff, CONNECTUS LLC d/b/a EDEGREE ADVISOR (hereinafter “Plaintiff” or

“eDegree”), pursuant to F.R.C.P. 15, files its Amended Complaint against Defendants, Ampush

Media, Inc., (“Ampush”) and DGS EDU, LLC (“DGS EDU”) (collectively “Defendants”) and

states as follows:

                                    NATURE OF ACTION

       1.      Plaintiff brings this action based upon the Defendants’ systematic practice of

misappropriating and converting Plaintiff’s proprietary lead generation data and exploiting the

misappropriated proprietary lead generation data by mass calling Plaintiff’s customers and / or

selling the misappropriated data to third parties who mass call Plaintiff’s customers. As a result,

Plaintiff has suffered significant financial harm as well as destruction of its goodwill. Plaintiff

sues herein for civil theft, conversion, violations of the Florida Uniform Trade Secrets Act,

unfair competition, violation of the Florida Deceptive and Unfair Trade Practices Act, violation

of the Federal Wiretap Act, unjust enrichment, breach of contract and injunctive relief. Plaintiff

seeks damages as well as injunctive relief.


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                          PARTIES, JURISDICTION AND VENUE

        2.     Plaintiff, eDegree is a Delaware limited liability company with its principal place

of business located at 28100 US Highway 19, Suite 204, Clearwater, Florida 33761.

        3.     Defendant, Ampush is a Delaware corporation with its principal place of business

located at 450 9th Street, 2nd Floor, San Francisco, California, 94103.

        4.     eDegree’s sole member is Digital Media Solutions, LLC (“DMS”), a Delaware

limited liability company with its principal place of business located at 28100 US Highway 19,

Suite 204, Clearwater, Florida 33761.

        5.     The members of DMS are an individual who is domiciled in Florida, and Prism

Data, LLC. Prism Data, LLC is a Delaware limited liability company with its principal place of

business located at 28100 US Highway 19, Suite 204, Clearwater, Florida 33761.

        6.     Prism Data, LLC’s membership consists of three individuals, two of whom are

domiciled in Florida and one of whom is domiciled in Pennsylvania. Citizenship of a natural

person for purposes of 28 U.S.C. §1332 is equivalent to domicile, the place where the person has

their permanent home and principal establishment. McCormick v. Aderholt, 293 F.3d 1254, 1257

(11th Cir. 2002) Therefore, Prism Data, LLC is a citizen of Florida and Pennsylvania. See,

Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d 1020, 1022 (11th Cir.

2004) (“a limited liability company is a citizen of any state of which a member of the company is

a citizen”).

        7.     Based on the above, the sole member of Plaintiff, DMS, is a citizen of Florida and

Pennsylvania. Therefore, Plaintiff, eDegree is a citizen of Florida and Pennsylvania. See,

Rolling Greens MHP, 374 F.3d 1020.




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       8.      Defendant, Ampush is a Delaware corporation with its principal place of business

located at 450 9th Street, 2nd Floor, San Francisco, California, 94103. Therefore, Ampush is a

citizen of Delaware and of California under 28 U.S.C. §1332(c)(1).

       9.      Defendant, DGS EDU is a Delaware limited liability company. DGS EDU is

wholly owned by Digital Globe Services, Inc. Digital Globe Services, Inc. is a Delaware

corporation with its principal place of business in California. Thus DGS is a citizen of Delaware

and California under 28 U.S.C. §1332(c)(1).

       10.     Pursuant to the above information, this Court has jurisdiction over the subject

matter of this action under 28 U.S.C §1332 on the grounds that the matter in controversy is

between citizens of different states, and the amount in controversy exceeds the sum of $75,000,

exclusive of interests and costs.

       11.     The action is properly venued in this district pursuant to 28 U.S.C. § 1391(b)(2).

                                    FACTUAL BACKGROUND

       12.     Plaintiff operates as an online marketplace which serves as an informational

service that seeks to connect prospective students (“Prospective Student”) with educational

opportunities (“University” or “Universities”).

       13.     Plaintiff operates a number of proprietary websites where it generates high value,

opt-in data of Prospective Students interested in furthering their education. This process is

referred to as lead generation. The data acquired from the Prospective Students is extraordinarily

proprietary and highly valued by Universities seeking to acquire Prospective Students.

       14.     Once a Prospective Student agrees to be contacted by Plaintiff to discuss

educational opportunities, Plaintiff engages its call center to contact these Prospective Students

in order to collect further information and to help determine the best University match. These



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Potential Students, as well as the proprietary data acquired therefrom, are generally referred to by

the Universities as Leads (hereinafter “Leads” or “Lead”).

       15.     Plaintiff, in some cases, does not have a direct relationship with the Universities

themselves, but instead has relationships with intermediaries (“Aggregators”), who in turn have

relationships with one or several Universities. Ampush was one such Aggregator.

       16.     Each Aggregator maintains a portal, which is essentially a database detailing the

various programs offered by each University that it represents.

       17.     Since Plaintiff works with many such Aggregators, in order to determine the best

match or matches for each Potential Student, Plaintiff must “ping” data relating to each

Prospective Student against each Aggregator’s portal.           This step is referred to as the

“Ping/Search Stage.” A portal is searched only to determine whether an Aggregator has a

relationship with a University that is a potential match for the Prospective Student.

       18.      If a potential University match is found, Plaintiff obtains further information

from the Prospective Student, confirms the match and has the Prospective Student agree to

various disclosures. After all of these steps are completed, Plaintiff sells the Lead to the

appropriate Aggregator or Aggregators, who in turn sell the lead to the University with which the

Prospective Student was matched.

       19.     Under no circumstances does Plaintiff submit or sell Leads to Aggregators at the

Ping/Search Stage. Instead, the Ping/Search Stage is an intermediary step in the Lead generation

process, the sole function of which is to determine whether an appropriate University match may

exist within a given portal so that Plaintiff can subsequently proceed with completion of

generating the Lead.




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       20.     Plaintiff enters into contracts with Aggregators that govern the sale of Leads.

Plaintiff and Defendant entered into such an agreement, the Ampush Media Service Level

Agreement (the “Agreement”) on May 31, 2013. Pursuant to paragraph 5 of the Agreement

Defendant agreed not to make use of, disseminate or in any way disclose Plaintiff’s confidential

information to any person, firm or business except as authorized in the Agreement. A copy of

the Agreement is attached hereto as Exhibit “A.”

       21.     On or about October 31, 2013, DGS EDU acquired the education business of

Ampush, including the Agreement with Plaintiff, and Plaintiff continued to provide Leads to

DGS EDU as set forth above. DGS EDU is Ampush’s successor in interest and Ampush and

DGS EDU are referred to herein collectively as Defendants.

       22.     Over time, Plaintiff began to receive complaints from Aggregators other than

Defendants as well as Universities Plaintiff works directly with regarding the quality of the

Leads that Plaintiff sold them. A common complaint was that the Prospective Students had

already been called multiple times by other Universities before these Aggregators and the

Universities they represent were able to utilize the Lead they purchased.

       23.     Accordingly, Plaintiff undertook a thorough investigation in an attempt to

uncover the root cause of the Aggregators’ complaints.

       24.     As part of Plaintiff’s investigation, Plaintiff tested its other Aggregator partner

portals to ensure that consumer data which was not matched through the Ping/Search was not

being used by Aggregators or the Aggregators’ partners to call Prospective Students.

       25.     Plaintiff’s investigation revealed that rather than purchasing the Leads at the end

of the client verification process, Defendants had been scraping, digitally copying or otherwise

misappropriating Plaintiff’s proprietary Lead generation data early in Plaintiff’s Lead generation



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process, at the Ping/Search Stage, but before Plaintiff had submitted or sold the Lead to

Defendants.

           26.   Upon information and belief, Defendants have used “scraping” software or other

digital means to mine and misappropriate Plaintiff’s proprietary Lead generation data and trade

secrets.

           27.   Plaintiff’s investigation further revealed that Defendants had unlawfully sold the

misappropriated Lead generation data to several of Defendants’ third party partners.

           28.   Plaintiff’s investigation revealed that Defendants, and entities to which

Defendants sold stolen Lead generation data, had been calling every Prospective Student whose

information Plaintiff had utilized to conduct a Ping/Search on Defendants’ portal, regardless of

whether the Lead had ultimately been submitted or sold to Defendants.

           29.   Plaintiff’s investigation determined that Defendants and the partners to which it

sells Lead generation data, have called as many as 838,853 Prospective Students after improperly

obtaining Plaintiff’s proprietary Lead generation data in the manner described above.

           30.   Upon information and belief, each Prospective Student has been called dozens or

scores of times.

           31.   Although Defendants paid Plaintiff for approximately 39,975 Leads pursuant to

the Agreement, Defendants have not paid Plaintiff for any of the 838,853 stolen Leads that

Defendants obtained from using the scraping software described above. Each stolen Lead has a

value between $18.00 to $24.00 per Lead and thus Plaintiff’s damages exceed $19,000,000.00,

without taking into account the damage to Plaintiff’s reputation and goodwill.

           32.   As a result of the Defendants’ acts, Plaintiff has been, and continues to be

damaged monetarily and its goodwill continues to be irreparably harmed.



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                   COUNT I – CIVIL THEFT UNDER FLA. STAT. §772.11

       33.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 as if specifically set forth herein.

       34.     At the Ping/Search Stage of the Lead generation process, Plaintiff owns and has

the exclusive right to possess its proprietary Lead generation data.

       35.     Defendants knowingly obtained Plaintiff’s property by scraping, digitally copying

and misappropriating Plaintiff’s proprietary Lead generation data at the Ping/Search Stage.

       36.      Defendants knowingly obtained Plaintiff’s proprietary Lead generation data with

felonious intent to deprive Plaintiff of the benefit to the proprietary Lead generation data by

failing and otherwise refusing to properly remunerate Plaintiff for the proprietary Lead

generation data.

       37.     Defendants knowingly obtained Plaintiff’s proprietary Lead generation data with

felonious intent to appropriate Plaintiff’s property to Defendants’ use by directly and/or

indirectly contacting Prospective Students whose information Defendants had scraped, digitally

copied and otherwise misappropriated from Plaintiff.

       38.     Defendants knowingly obtained Plaintiff’s proprietary Lead generation data with

felonious intent to appropriate Plaintiff’s property to the use of Defendants’ partners by selling

the misappropriated Lead generation data to such third parties.

       39.     As a result of Defendants’ theft of Plaintiff’s proprietary Lead generation data,

Plaintiff has suffered and will continue to suffer damages including lost revenue and profits, as

well as damage to its goodwill.




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       40.     Plaintiff has made a pre-suit demand of Defendants for payment of treble

damages that have resulted from Defendants’ theft of Plaintiff’s proprietary Lead generation

data, but Defendant has failed and refused to comply with Plaintiff’s demand.

       41.     By reason of the foregoing, Plaintiff has suffered and continues to suffer damages.

       42.     Pursuant to Fla. Stat. § 772.11(1), Plaintiff is entitled to a civil remedy for treble

damages of Plaintiff’s actual damages resulting from Defendants’ theft of Plaintiff’s proprietary

Lead generation data.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for civil theft, and award Plaintiff treble damages in an

amount equal to threefold Plaintiff’s actual damages, attorneys’ fees, costs and interest, and grant

Plaintiff all other relief the Court deems appropriate.

                                  COUNT II - CONVERSION

       43.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 as if specifically set forth herein.

       44.     At the Ping/Search Stage of the Lead generation process, Plaintiff owns and has

the exclusive right to possess its proprietary Lead generation data.

       45.     Defendants intentionally interfered with Plaintiff’s exclusive ownership and

possessory rights by scraping, digitally copying and otherwise misappropriating Plaintiff’s

proprietary Lead generation data at the Ping/Search Stage.

       46.     Defendants’ scraping, digital copying and misappropriation of Plaintiff’s

proprietary Lead generation data at the Ping/Search Stage wrongfully deprived Plaintiff of the

rightful ownership of its property.




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       47.     Defendants exercised dominion over Plaintiff’s property through the scraping,

digital copying and misappropriation of Plaintiff’s proprietary Lead generation data at the

Ping/Search Stage.

       48.     Defendants assumed the powers of ownership over Plaintiff’s property through

unauthorized scraping, digital copying and misappropriating Plaintiff’s proprietary Lead

generation data at the Ping/Search Stage, and then exploiting said data for pecuniary gain.

       49.     Plaintiff’s investigation of Defendants’ illegal conduct has revealed that

Defendant’s exercise of dominion over Plaintiff’s proprietary Lead generation has been ongoing

for a substantial period of time, possibly as early as the beginning of the parties’ relationship.

       50.     As a result of Defendants’ unauthorized interference with Plaintiff’s exclusive

ownership and possessory rights to its proprietary Lead generation data, Plaintiff has suffered

and will continue to suffer damages including lost revenue and profits.

       51.     By reason of the foregoing, Plaintiff has suffered and continues to suffer damages.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for damages including all compensatory, special and

punitive damages, costs and interest, and grant Plaintiff all other relief the Court deems

appropriate.

                COUNT III - MISAPPROPRIATION OF TRADE SECRETS

       52.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 as if specifically set forth herein.

       53.     Plaintiff’s proprietary Lead generation data constitute trade secrets within the

meaning of Fla. Stat. § 688.002 (4). Plaintiff took reasonable steps to protect the secrecy of its

Lead generation data, including but not limited to entering into confidentiality agreements and



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limiting access to its proprietary data. The Lead generation data derived economic value from

not being readily ascertainable by proper means to others that could obtain economic value from

the disclosure and use of the Lead generation data.

         54.    Defendants have misappropriated Plaintiff’s confidential and proprietary Lead

generation data by acquiring such data through improper means within the meaning of Fla. Stat.

§ 688.002 (2)(a) by exceeding any conceivable authorized valid access to data at the Ping/Search

Stage.

         55.    Defendants used improper means to acquire knowledge of Plaintiff’s proprietary

Lead generation data by exceeding its authorized accessed to such data by unlawfully “scraping”

Plaintiff’s proprietary Lead generation data at the Ping/Search Stage, and subsequently using

and/or disclosing such data without the express or implied consent of Plaintiff.

         56.    The   foregoing    acts   of     Defendants   constitute   willful   and   malicious

misappropriation of Plaintiff’s trade secrets.

         57.    By reason of the foregoing misappropriation of Plaintiff’s trade secrets,

Defendants have been unjustly enriched at Plaintiff’s expenses, and Plaintiff has suffered

damage and continues to suffer damage.

         WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for damages under Fla. Stat. §§ 688.03 and 688.04,

including injunctive relief, and exemplary damages, attorneys’ fees, costs and interest, and grant

Plaintiff all other relief the Court deems appropriate.

                            COUNT IV –UNFAIR COMPETITION

         58.    Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.



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        59.    Defendants have been misappropriating and subsequently using and/or disclosing

to third parties Plaintiff’s confidential and proprietary Lead generation data for pecuniary gain

and to solicit Prospective Students.

        60.    The acts of Defendants complained of above, as well as other wrongful and

fraudulent acts by Defendants that Plaintiff anticipates it will uncover during discovery, were

committed in bad faith by Defendants and have, and will continue to, unjustly enrich Defendants

at Plaintiff’s expense, causing loss of revenue and profit, and irreparable harm to Plaintiff’s

goodwill.

        61.    Further, Defendants’ acts as described in detail herein will likely confuse and

deceive the public and Prospective Students.

        62.    Defendants have improperly benefitted from the misappropriation of Plaintiff’s

confidential and proprietary Lead generation data.

        63.    Defendants’ actions are willful, wanton and in reckless disregard of the rights of

Plaintiff.

        64.    The acts of Defendants complained of above constitute unfair competition.

        65.    By reason of the foregoing, Plaintiff has suffered and continues to suffer damages.

        WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for damages including all compensatory, special and

punitive damages, costs and interest, and grant Plaintiff all other relief the Court deems

appropriate.

                  COUNT V – VIOLATION OF FLORIDA’S DECEPTIVE AND
                            UNFAIR TRADE PRACTICES ACT

        66.    Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.

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       67.     Defendants’ improper theft and misappropriation of Plaintiff’s Lead generation

data is a deceptive and unfair trade practice under Fla. Stat. §501.204.

       68.     Defendants’ conduct as described above is immoral, unethical, oppressive,

unscrupulous and substantially injurious to Plaintiff, the Aggregators, the Universities and the

Prospective Students.

       69.     As a result of Defendants’ deceptive and unfair trade practices alleged herein

Plaintiffs have suffered actual losses and continue to suffer actual losses in the form of

irreparable injury and damages.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for injunctive relief and damages, attorneys’ fees, costs

and interest, and grant Plaintiff all other relief the Court deems appropriate.

                 COUNT VI – VIOLATION OF FEDERAL WIRETAP ACT

       70.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.

       71.     Plaintiff’s Ping/Search of Defendants’ portal at the Ping/Search Stage constitutes

an electronic communication within the meaning of 18 U.S.C. § 2510(12).

       72.     Defendants’ scraping, digital copying and misappropriation of Plaintiff’s

proprietary Lead generation data at the Ping/Search Stage constitutes an intentional interception

of Plaintiff’s electronic communication in violation of 18 U.S.C. § 2511(1)(a).

       73.     As a direct result of the foregoing, Plaintiff has suffered actual and consequential

damages, and continues to suffer actual and consequential damages.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants pursuant to 18 U.S.C. § 2520(b)(2), including



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injunctive relief and damages including all compensatory, special and punitive damages,

attorneys’ fees, costs and interest, and grant Plaintiff all other relief the Court deems appropriate.

                            COUNT VII – UNJUST ENRICHMENT

        74.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.

        75.     Defendants have improperly misappropriated Plaintiff’s proprietary Lead

generation at the Ping/Search Stage without proper remuneration to Plaintiff.

        76.     Thereafter, Defendants contacted and solicited Prospective Students, in addition

to having sold and otherwise systematically exploited the misappropriated proprietary Lead

generation data.

        77.     Due to Defendants’ deceptive practices, as well as other wrongful and fraudulent

acts by Defendants which Plaintiff anticipates it will further uncover during discovery,

Defendants has willfully and unjustly sold products, services and otherwise profited at Plaintiff’s

expense.

        78.     Plaintiffs, albeit unknowingly, have conferred a benefit on Defendants by

Defendants’ access to Plaintiff’s Lead generation data. Defendants had knowledge of the benefit

conferred.    Defendants voluntarily accepted and retained the benefit conferred under such

circumstances that it would be inequitable for the Defendants to retain the benefit without paying

the value thereof to the Plaintiff.

        79.     By reason of the foregoing, Plaintiff has suffered damages and continues to suffer

damages.

        WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for damages including all compensatory and special

damages, costs and interest, and grant Plaintiff all other relief the Court deems appropriate.
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                          COUNT VIII – BREACH OF CONTRACT

       80.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.

       81.     Defendants breached the Agreement by improperly disclosing, disseminating and

utilizing Plaintiff’s Confidential Information in violation of the Agreement.

       82.     As a result of Defendants’ breach of the Agreement Plaintiff has suffered damage

and continues to suffer damage.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants for damages including all compensatory and special

damages, attorneys’ fees, costs and interest, and grant Plaintiff all other relief the Court deems

appropriate.

                             COUNT IX – INJUNCTIVE RELIEF

       83.     Plaintiff realleges and incorporates by reference the allegations contained in

Paragraphs 1 through 25 above as if specifically set forth herein.

       84.     As a result of Defendants’ conduct as described above, Plaintiff has suffered and

will continue to suffer irreparable damages unless Plaintiff is granted injunctive relief.

       85.     If Plaintiff is unable to stop Defendants and its agents, servants, employees, and

those acting in concert with Defendants, from contacting Prospective Students whose Lead

generation data was misappropriated by Defendants, Plaintiff will suffer irreparable harm,

including irreparable damage to Plaintiff’s goodwill.

       86.     For this harm and damage, Plaintiff has no adequate remedy at law.

       87.     These damages are continuing and, to a large degree, will be incalculable.




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       88.     Plaintiff therefore requests that the Court enter a preliminary and permanent

injunction enjoining Defendants, their agents, servants, employees, and those acting in concert

with Defendants, from calling or contacting in any way any and all consumers whose Lead

generation data was misappropriated from Plaintiff by Defendants.

       WHEREFORE, Plaintiff, eDegree respectfully requests that this Court enter judgment in

favor of Plaintiff and against Defendants as follows:

        (i)    Ordering that Defendants be preliminarily and permanently enjoined and

restrained from calling or contacting in any way any and all customers whose Lead generation

data has been misappropriated by Defendants;

       (ii)    Permanently enjoining Defendants, and their agents, representatives, employees

and anyone acting for or in concert with them or on their behalf, from calling or contacting in

any way any and all customers whose Lead generation data has been misappropriated by

Defendants;

       (iii)   Ordering that Defendants to return the stolen Leads to Plaintiff; and

       (xii)   Ordering such further relief as this Court deems just and proper, including

Plaintiff’s costs and attorneys’ fees.




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                               DEMAND FOR JURY TRIAL

     Plaintiff hereby demands a jury trial on all issues so triable.


     DATED:         December 11, 2015.


                                            BARNETT, BOLT, KIRKWOOD,
                                            LONG & KOCHE

                                            /s/ Thomas G. Long
                                            Thomas G. Long
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                                            Amy E. Stoll
                                            Florida Bar No. 150959
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                                            (813) 251-6711 – Facsimile
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                                                              astoll@barnettbolt.com
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                                                               lharrod@barnettbolt.com




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                          AMPUSH
                                 Ampusb Media Sen'ice Level Agreement

      1.    INTRODUCTION

      1.1   Scope

            This Service Level Agreement (this "Agreement"), entered into on May 31, 2013, by and
            betWeen Ampush Media, Inc. ("A.f}1PUSH") and EDegreeAdvisor, LtC ("VENDOR")
            governs the rights and responsibilities of the foregoing parties with respect to the call
            center services provided by VENDOR to AMPUSH at all times throughout the courseof
            t:h~irlmsiness relationsi1ip (the "Seryice Period").

      1.2   Parties to the Agreement

            Tne foHowing tab Ie describes and names the legal entities and their representatives who
            have reviewed and approved ihis A.g teement.

                 Entijy                             Address                          Renresenta tive
  I
      Ampush Media                    4509 d1 Street,r floqI'iSan          Stewart Kublo
                                      Francisco, CA 94t03                                              ,


      EDegreeAd visor,LLC             28100 US HIGHWAY 19 .N               Fernando Borghese
                                      STE204
                                      CLEARWATER.FL3376l

      1.3   Perspective- Regulative Environment

            A number of documents specify the requirements for the provision of leads by VENDOR. These
            include:

            •   MObthlyfnsertion qtders

      1.4   Defintions

            Qualified Lead:       Allleadl) submitted to Ampllsh must contain t...'1e following:
                                           l. Campus Name;
                                          u. Last Name of Lead;
                                         iii. First Name of Lead;
                                           IV.   Lead IPAddress;
                                             v.Lead Address;
                                            vi. Lead Cky;
                                           vi i. Lead State;
                                          viii. Lead Zip Code;
                                            ix. Lead Country;
                                             x. Lead Phone Number;
                                            xi. Lead Phone NtimbetDesignation;
                                           xii. Lead Email Address;




                                                                                          Exhibit A
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                                           xiii. PrograrnJAreaoflnterest Requested;
                                           XIV. Daterrime Company generates the Lead;
                                            xv. LevelofEdllcation;
                                           xvi. OED/High School.Graduation Year;

              InteUectu.aIProperty Rights:           Means righ~ in copyrights, trade secrets,
                                                     trademarks (including service marks), patents, mask
                                                     works, . industrial desi¥nrights, rights .of priority,
                                                     know-how, tnetbodolog1es, .· in each case whether
                                                     registered.. or unregisted,and including any
                                                     application forregistra.tibnof any .of the foregoing,
                                                     anct all rights l;lod form~ofprotection of a similar
                                                     nature or having equivalent or similar effect to any
                                                     of these? whIch may existan>'Where In the world.

              ConfidentIal Infortnafion:             M-eansany confidential or ·proprietary inforrnaiton,
                                                     source code.• software tools, designs, schematics,
                                                     plans or any other .informationrelating to any
                                                     research project, work m process, future
                                                     development,          scientific,         engineering,
                                                     manufacturing, marketing or business plan or
                                                     financial or personnel matter relating to either party,
                                                     its present or future products, sales, suppliers,
                                                     clients, client lists or other client inform~tion,
                                                     employees. investors. or business, disclosed by one
                                                     party to the other party, whether in oraJ, writteni
                                                     graphic or eJectronic fonn,and whose confidential
                                                     or proprietary nature is identified at the time ofsuch
                                                     disclosure or by the nature of the circumstanCes
                                                     surrounding disclosure should reasonably be
                                                     lIlldetstood fa be .confidential.

      2.      SERVICESA-..~D SERVICE L.EVELS

      2.1$eniceDescription

              Dllrlng the SerVice Period, VENDOR shall make outbound telephone calls in an effort to generate
              leads onbehalfofATvlPUSH.

      2.Z     File Delivery Expectations

              VENDOR agrees to meet the delivery standards Iistedbe1ow:

      File Tvpe       Expected FreguencvlMinimnm              Arrives at AMPUSH         TraJisportMethod
                                ,FreQuencv                       bo1ater tban:
      Qualifie9    Variable.                                                          Submission thrOll gh
      leads                                                                           AMPUSH web port~)
  >   Qualified    Daily/Within48 hours                      Forty-eight (48) hours   AMPUSHFTP
  rI lead audio
           ..                                                from the time oflead
                                                             creation



                                                         2
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   2.3.'   Senrice Level Indications

           The following measures will be used to assess VENDOR'sperforrnance of the service:

        Measure                                       Descrintion
   Scripting            AMPUSH will work with VENDOR ~o develop appropriate scripting
                        with the expectation that such scripting will be used by VENDOR's.
                        C~I Cen~erRepresentatives {"CCRs"}on each outbound call made on
                        behalf ofAMPUSH. AMPUSH reserves the right to test and alter
                        scripts inaccorrumce with its unique strategy. VENDOR will
                        implement any changes or ameridment$. to the scripts withill twenty
                        four hotlt$df submission by AM PUSH.
   Call Recordings      All calls must be r~orded atall ti1l)es. All audio recordings on which     100%
                        a lead was subrrilhe{to AMPUSH'~ Lead Management System
                        ("LMS")willlre madeava.ilable via VENDOR's·FTP.site Within
                        fot1Y-eightC48}hoursofthe time of creation. Any \ead(s) generated
                        for which there iSIlO accompanying audi 0 within forty -eight·(48)
                       'hours shaH bcoonsi<iered unquaiified and will not billable. If, for any
                        wason, VENDORisunahle to .record calls, experiences recording
                        disruption oris otherwise unable to produce copies ,o f recorded calls,
                        AmpdSh must he notified within four.( 4) business hotIr~ of the tirrreof
                        discovery of the issue. VENDOR must maintain compliance with all
                        state and federal regulations regarding consumer notification of can
                        tecordirHi.
   Qu,alifiedLeads Per AMPUSHshaU only pay for QualifiedLeacls as defmed above.                    100%
   Consumer             VENDOR may submit a single consumer's personal information to
                        no more than three (3) schools. Any leads on which a consum,er's
                        personal information is submitted to·more than three (3) schools will
                        be considered unqualified and wjJInOl be paid.
   Do-not-call          AMPVSl'l willoot accept leads generated from "cold calls" or any           100%
   restrictions         form of contact where thecon~umer has not provided .express prior
                        permission to be contacted on beryalf of educational institutions.
   Outboundqtller ID VENDOR is required to transmit or <lisplay a valid, working                   JOO%
                        telephone number for caller 10 purposes. Rctumcalls to that number
                        during operating hours must provide consumers with an opportunhy
                        to be removed from thecaH list. The phone number appearing on the
                        caller In must be disclosed to AMPUSH.
   Lead traffic and              a. If consumer data is captured on a VENDOR~ownedWeb              100%
   data sources                      site, VENDOR must disclose the privacy policy for each
                                       site.
                                  b. lfconsumer data is acquired by other tnethodssuch as
                                     acquiring inforw.ation offline or acquiring data from non-
                                     VENDOR Web sites. VENDOR: mustqisclose to
                                     AMPUSH the method through. which the consumer data
                                     is captured, thoug.h .not the source.
                                 c. AMPUSH will NOT accept Leads generated from third
                                     party lists, i.e" rented )ists. Leads generated in this
                                     manner shan be deemed Unaualified Leads.
   Updates and           All updates or call procedure changes requested by AMPUSH                 98%
   compliance            concerning the practices of the VENDOR'S call centeror'the CCRs


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                         must be made withintwenfy-four (24) hours of the request.
   Required              Theschooltlattie, school-specific degree, and program name (e.g.;         100%
   notifications         Acme's AASDegre¢ in Medical Billing and Coding) mllst be
                         provided to.the c9DSllmer before submitting the AMPUSH lead forni
                         AdditionaIly,prior to suhfuit:ting the l¢ad form, the eCR must obtain
                         the consumer's express perrnissionto suhfuit the form.
   Expressed             When speaking with a <;:CR, ira. conSllmer states twice that they are     98%
   Disinterest           not interested in being contacted about or pursuing educational
                         opportunities, orin any ()ther way expresses that they do not want to
                         continue the clill.the call must beterl11inated expeditiously and
                         ~'ithotlt submitting a consllnter'~personal information to any
                         AMPUSH Client; VENDOR may not call the consumer again unless
                         anew expression of interest is receivecL
                                                                     ..

   Matching              A CCR must always attempt to match the consumer to the program            97%
   consumers to          and/or school preference indicated by the consumer's responses to the
   schools and           pre-qualification questionS. lfthe consumer is unqualified for their
   progratl1S            preferred school or program, or if StIch school or program is
                         unavaiJabI~. then the CCR may suggest alternatiV~ schools or
                         programs~ however, at aU times the CCR must 'Clearly communicate
                         ".'hich school and program are being offered. Ifthe consumer is
                         unqualified, or will not accepta match to, the ~choor or programs
                         available, the call must be terminated appropriately ·witlJout
                         submitting any lead fOlin(s).
  i Regulatory           VENDORshaU comply with all applicable state and federal laws,             100%
   compliance            rules,and regulations (collectively "Laws"),inctuging; but not
                         Iimitedtb, Laws relating to deceptive telemarketing, abusive
                          telemarketing,do-not-call prohibitions, use of automated telephone
                         equipment and consumer privacy rights.
   Issue Resolution      VENDOR shall reS91ve all critical and major issues periiliningto          Greater
                         indi vidual CCR performance, dialer/platformperfonnance or quality        than 97%
                         control feedbackwithin one (I) bUsiness. dav.


   3.      MANAGEMENT ELEMENTS

   3.t     lte,-'iews
           VEN'DOR wiUprovide for a weekly review of its services with AMPlJSH.

   3.2     ChallgcJlt:'0cesS

           Either party may propose changes to the scope, nature.or time schedllleof the SerYIc!!s being
           performed under this Agreement The parties will mutually agree to any propsed cl1:linges,
           including adjustments to fees and expen.c;esas a result of the Chatlges to this Agreement. AU
           changes are required to be sublTlittedIn writingby the party requesting the change, an.d a decision
           must be rendered by the party against whbul the change is requested within a reasonable time, riot
           to exceed ten (10) business days.

   3~3.    Points of ContaCt

           The following points of contact for the execution of this Agreement are:




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